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AO 888 (R€v.0l/09) Subpoena                  Information,or Objectsor to permitlnspectionof premises
                          to PrcduceDocum€nts,


                                   UxTTED
                                        SrarnsDTSTRICT
                                                    Counr
                                                                 for the
                                                        Districtof Massachusetts

    ln Re:Pharmaceutical
                      Industry
                             AWP Litigation
                           Plaintiff
                              V.                                            Civil ActionNo. 01-12257MDLNo. 1456

                                                                            (lf the actionis pendingin anotherdistrict,statewhere:
                          Defendant

                     SUBPOENA TO PRODUCE DOCUMf,,NTS,INFORMATION, OR OBJECTS
                               OR TO PERMIT INSPECTION OF PREMISES

To: Prescription
               AccessLitigation
    30 WinterStreet,1othFtoor,Boston,MA 02108
    { Production:YOU ARE COMMANDED to produceat the time, date,andplaceset forth below the tbllowing
documents, electronicallystoredinformation,or objects,andpermittheir inspection,copying,testing,or samplingofihe
material:SeeAttachedSchedule',A',.




         ZZi nosewoodDrive,8th Floor                                          Date and Time:
                MA 01g23
         Danvers.
                                                                                                 0312712009
                                                                                                         9:00am

    J Inspection of Pren lses.'YOU ARE COMMANDED to permit entry onto the designatedpremises,land, or
otherpropertypossessed or controlledby you at the time, date,andlocationset forth below, so that the requestingparty
may mspect,measure,survey,photograph,test,or samplethe propertyor any designatedobjector operationon it.




        The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena,and Rule
45 (d) and (e), relating to your duty to respondto this subpoenaand the potential consequencesof not doing so, are
attached.
             )       l
Y\
D atr e: J </q
           /
                  log
               | /r. r
          _-._7_+
                 I


                              CLERK OF COURT


                                       Signatureof Clerk or Deputy Clerk                               Attorney's signa


The name, address,e-mail, ard telephone number of the attomey representing (naneof pan!)                   Rev. David Aaronson, et al.
                                                                                     , who issuesor requeststhis subpoena,are:
DonaldE . Hav ilan dJ, r., Esquire,
                                 The Haviland
                                            L a wF i r mL L C ,1 1 1S . I n d e p e n d e nM
                                                                                           c ea l lE a s t S
                                                                                                           , uite,t000,
Ph iladelphia,
            P A 19 10 6 , 215-609-4661
                Case 1:01-cv-12257-PBS Document 7462-1 Filed 03/17/11 Page 2 of 11

AO 88B (Rev. 0l/09) Subpoenato ProduceDocuments,Infonnation, or Objectsor to Pemlit Inspection prernises
                                                                                              of        @age2)

Civil Action No.


                                                 PROOFOF SERVICE
                     (Thissectionshouldnot befiled with thecourt unlessrequiredby Fed.R. Civ.p. 45.)

         This subpoena for fuameof individualandtitle,tf any)
was received by me on (date)


         D I personallyservedthe subpoenaon the individual at @lace)

                                                                                      on (date)                         ;or
         O I left the subpoena at the individual's residence or usual place of abode with (name)

                                                                       , a personof suitableageand discretionwho residesthere,
         on (date)                            , and mailed a copy to the individual's last known address;or

         il I served the subpoena to (nameof individuat)
                                                                                                                              , who is
          designatedby law to accept service of process on behalf of
                                                                     fuameof organization)
                                                                                      on (date)                         ;or
         D I returnedthe subpoenaunexecutedbecause
                                                                                                                                     ;or
         fl other gpecifi):



         Unlessthe subpoenawas issuedon behalfof the United States,or one of its officersor agents,I
                                                                                                     havealso
         tenderedto the wibressfeesfor one day's attendance,and the mileageallowed by law, in the amountof



My feesare $                                  for travel and $                          for services,for a total of $         O.O0


         I declareunderpenalty of perjury that this informationis true.


Date:
                                                                                          Serter's signature



                                                                                        Printed name and title




                                                                                           Server's address

Additional informationregardingattemptedservice,etc:
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AO 888 (Rev.0l/09) Subpoena
                          to ProduceDocuments,
                                            Information,                              of premises
                                                       or Objectsor to PermitInqpection         (page3)




                           Federal Rule of Civil Procedure45 (c), (d), and (e) (Effective l2llt07)
(c) Protectinga PersonSubJectto a Subpoena.                              (d) Duttesln Respondingto a Subpoena.
 (l) Avoiding UndueBurden or Expense; Sanctionr.A party or                (l) Producing Documentsor Electronically StoredInformation
attorneyresponsiblefor issuingand seruinga subpoenamust take             Theseproceduresapply to producingdocumentsor electronically
reasonablestepsto avoid imposingundueburdenor expenseon a                storedinformation:
personsubjectto ttrezubpoena.The issuingcourt must enforcethis              (A) Docaments.Apersonrespondingto a subpoena         to produce
duty andimposean appropriatesanction- which may includelost              documentsmust producethem asthey arekept in the ordinary
earningsandreasonableattorney'sfees- on a party or attorney              courseof businessor mustorganizeandlabelthemto correspond          to
who fails to comply.                                                     thecategories   in the dernand.
   (2) Commandto ProduceMaterials or permit Inspectiott                     (B) Fomfor ProducingElectronicallyStoredInformationNot
   (tt) AppearanceNotRequired.A personcommandedto produce                Specified.lfa subpoenadoesnot specirya form for producing
documents,      electronicallystoredinformation,or tangiblethings,or     electonicallystoredinformation,the personresponding       must
to permit the inspectionof prernises,neednot appearin personat the       produceit in a form or forms in which it is ordinarily maintainedor
placeof productionor inspectionunlessalsocommanded           to appear   in a rcasonablyusableform or forms.
for a deposition,hearing,or trial.                                          (C) Electronically StoredInformation Producedin Only One
   @) Objections.A personcommandedto producedocumentsor                  Form.Thepersonrespondingneednot producethe same
tangiblethingsor to permit inspectionmay serveon the party or            elecfionicallystoredinformation in more than oneform.
attorneydesignatedin the subpoe,na      a written objectionto               @) Inaccessible   ElectronicallyStoredInformation.Theperson
inspecting,copying,testingor samplingany or all of the materialsor       respondingneednot providediscoveryof electronicallystored
to inspectingthepremises- or to producingelectronicallystored            informationfrom sourcesthat the personidentifiesasnot reasonably
informationin the form or forms requested.The objectionmustbe            accessible  becauseof undueburdenor cost.on motionto compel
servedbeforetheearlierof the time specifiedfor complianceor 14           discoveryor for a protectiveorder, the personrespondingmustshow
daysafter the subpoenais se,lned.If an objection is made,the             thattheinformationis not reasonablyaccessible     because  of undue
followingrulesapply:                                                     burde'nor cost.If that showingis made,the courtmaynonetheless
     (i) At any time, on notice to the commandedperson,the senring       orderdiscoveryfrom suchsourcesif the requestingparly shows
partymaymovetheissuingcourtfor an ordercompellingproduction              goodcause,consideringthe limitationsof Rule26(bX2XC).The
or inspection.                                                           courtmay specifuconditionsfor the discovery.
     (ii) Theseactsmay be requiredonly as directedin the order,and         (2) Claining Privilege or Protection
the ordermustprotecta personwho is neither a party nor a party's           (!) InformationWithheld.Apemonwithholdingsubpooraed
offrcer from significantexpenseresultingfrom compliance.                 informationundera claim that it is privilegedor subjectto
  Q) Quashingor Modifying a Subpoenu                                     protectionastrial-preparation   materialmust:
   (A) ll/henRequired.On timely motion,the issuingcourtmust                 (l) expresslymakethe claim; and
quashor modifu a subpoenathat:                                              (tl) describethe natureof the withheld documents,
     (i) fails to allow a reasonable time to comply;                     communications,     or tangiblethingsin a mannerthat,without
     (li) requiresa personwho is neithera party nor a party'sofficer     revealinginformationitself privilegedor protected,will enablethe
to travelmorethan 100milesfrom wherethat personresides,is                partiesto assess  the claim.
employedor regularlytransactsbusinessin person- exceptthat,
                                                                           @) InfonnationProduced.If informationproducedin response        to a
subjectto Rulea5(cX3XB)(iii),thepersonmay be commanded            to     subpoena   is subjectto a claim of privilegeor of protectionastrial-
attenda trial by travelingfrom any suchplace within the statewhene       preparationmaterial,the personmaking the claim may notifu any
the trial is held;                                                       party that receivedthe information of the claim andthebasisfor it.
     (iii) requiresdisclosureof privileged or otherprotectedmatto, if    After beingnotified, a party must promptly return,sequester,   or
no exceptionor waiverapplies;or                                          destroythe specifiedinformationandanycopiesit has;mustnot use
     (iv) subjectsa personto undueburden.                                or disclosethe informationuntil the claim is resolved;musttake
   (B) whenPermitted.To protecta personsubjectto or affectedby           reasonable   stepsto refrievethe informationif thepartydisclosedit
a subpoenqthe issuingcourtmay,on motion,quashor modiff the               beforebeingnotified;andmay promptlypresentthe informationto
subpoena     if it requires:                                             the court undersealfor a determinationof the claim. Theperson
     (i) disclosinga tradesecretor other confidentialresearch,           who producedthe information must preseryethe informationuntil
developme,nt,      or commercialinformation;                             the claimis resolved.
     (ii) disclosinganunretainedexpert'sopinionor informationthat
doesnot describespecificoccurencesin disputeand resultsfrom              (e) Contempt.The issuingcourtmay hold in contsmpta person
the expert'sstudythat wasnot requestedby a party; or                     who, havingbeenserved,fails without adequateexcuseto obeythe
     (iii) a personwho is neithera party nor a party's offrcerto incur   subpoe,na.
                                                                                  A nonparty'sfailure to obeymustbe excusedif the
substantial    expense  to fravelmorethan 100miles to attendtrial.       subpoenapurportsto requirethe nonpartyto attendor produceat a
   (c) specifyingconditio^sas an Alternative.rnthe circumstances         placeoutsidethe limits of Rule a5(cX3XAXii).
describedin Rulea5(cX3)(B),the courtmay, insteadof quashingor
modifuing a subpoena"       orderappearance  or productionunder
specifiedconditionsif the serrdngparty:
     (i) showsa substantialneedfor the testimonyor materialthat
cannotbe othenvisemet without unduehardship;and
     (ii) ensuresthat the subpoenaed    personwill be reasonably
compensated.
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                          SUBPOENA SCHEDULE 564''

                DEFINITIONS, INSTRUCTIONS & REQUESTS

I. DEFINITIONS

  As usedherein, the following terms and acronyrnsinclude the meaningsset forth below:

  1. The acronym .'PAL" refers to the otganrzationknown as PrescriptionAccess
     Litigation (hereinafter"PAL") and any of its predecessors,  successors,subsidiaries,
     offices (including,but not limited to local, regional,national,executive,affiliate
     and/or any home office of its employees),affiliates, projects,partnerships,
     associations, divisions,units, branches,agents,and any presentor former officers,
     directors,employeesor agents,including PAL's former statusas a project of
     Community Catalyst. The acronym "PAL" also includes all attorneys,accountants,
     advisorsand all other personsor entitiesacting or pu{porting to act on PAL's behalf.

  2. The term "you" or "your" meansyou personallyor any employee,agent,attorneyor
     other personor entity acting on your behalf or at your request.

  3. The term "entity" meansan individual, corporation,partnership,proprietorship,
     professionalcorporation,association,group,agencyor agent,or any other legal entity
     of any kind, whether for profit or not-for-profit.

  4. The term "document" includes,without limitation, the originals of all writings of
     everykind, including,but not limited to, letters,e-mails,telegrams,memoranda,
     reports,studies,legal pleadings,speeches,calendars,diary entries,travel recordsand
     vouchers,promotionalmaterials,pamphlets,handwrittennotes,drafts,lists,
     directives,reports,tabulations,minutesand recordsof meetings,and telephone
     records,which are or formerly were in the actual or constructivepossessionand
     control of you, your officers, directors,employees,attorneysor other agents. The
     term "document" further includesdataprocessingand computerprintout, tapes,disks,
     and data storedin computersor dataprocessingequipment,togetherwith programs
     and program documeniationnecessaryto retri&e,-read and utilize such data, and all
     othermechanicalor electronicmeansof storingor recordingd,ata,as well as tape,
     film, or cassettesound andlorvisual recordingsand reproductionsor film impressions
     of any of the aforementioneditems. The term "document" also includesalteied
     documents,copiesof all documentswhich arenot identicalduplicatesof the originals
     and copiesof documentsif the originalsof documentsare not in your possession,
     custodyor control. Altered documentsinclude,without limitation, any modifications,
     censorship,redaction,additionto, or changewhich obscures,removes,amends,
     changesor obliteratesany part of the original language,information or meaning.

  5. The term "communication" means any act,action, oral speech,written
     coffespondence,contact,expressionof words,thoughtsor ideas,or transmissionor
     exchangeof dataor other information to anotherpersonor entity, whether orally,
     personto person,in a group,by telephone,letter,personaldelivery,telex, facsimileor
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     any otherprocess,whetherit be by electronicmeansor otherwise. All such
     communicationsin writing should include, without limitation, printed, typed,
     handwritten,electronic or other readabledocuments.

  6 . The term "relating to" or relatedto" includesdescribing,discussing,reflecting,
      constituting,evidencing,referring to, pertainingto, concerning,involving,
      memorializing, dealing with and bearing on, whether legally, factually or otherwise.

  7 . The connectives"and" and "or" are to be construedeither disjunctively or
     conjunctively as necessaryto bring within the scopeof this requestall responsesthat
     might otherwisebe construedto be outsideof its scope,and are not to be interpreted
     in such a manner as to exclude any information within the scopeof this request.

  8 . Unlessotherwisespecificallystatedherein,the period coveredby eachof these
      requestsextendsfro January I , 1996to the date of your responseto theserequests.


II. INSTRUCTIONS

  1. You are directedto produceall documentsin your possessionthat are requestedby
     part III below.

  2. All such documentsshould be producedin the order in which you maintain them in
     the usual courseof your affairs, or organrzedand labeledto coffespondwith the
     categoriesof this request.

  3. You should producethe original of eachdocumentrequestedtogetherwith all non-
     identical copiesand drafts of that document. If the original of a documentcannotbe
     located,a copy shouldbe producedin lieu thereof,and shouldbe legible and bound
     or stapledin the samemanner as the original.

  4. Documentsnot otherwiseresponsiveto theserequestsshouldbe producedif such
     documentsmention,discuss,refer to or explainone or more documentsthat arecalled
     for by theserequestsor if such documentsare attachedto documentscalled for by
     theserequestsand constituterouting slips, facsimile covers,transmittal memorandaor
     letters,comments,evaluationsor similar materials. Documentsattachedat the time
     of receipt of this Subpoenaand accompanyingSchedule"A" or that are attachedas
     they are kept in the usual courseof your affairs should not be separated.
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III. REQUESTS FOR DOCUMENTS

1. Producedocumentsrelatingto the formationof PAL as an entity orproject of
   Community Catalyst,and the formation of PAL as a separateentity apartfrom
   Community Catalyst,including but not limited to, pre-formation consulting,memoranda
   of understanding,mission statements,articlesof incorporation,certificatesof
   organrzation,by-laws, operatingagreements,minutes of all meetings(board of directors,
   members,stockholders,trustees,etc.),and all amendmentsthereto;all filings under26
   U.S.C. 501(c)along with all amendmentsthereto;all annualor other filings, reports,
   applicationsand/or financial or other statementsrequired to be made by any stateor
   federallaw.

2. Produceall documentsrelatedto PAL's associationwith Community Catalystand/or
   Health CareFor All, and/ormembers,subsidiaries,affiliates,agents,or other personsor
   entitiesactingon behalf of Community Catalystor Health Care For All.

3. Produceall documentsrelatedto PAL's involvement,formal or informal, in any stateor
   federallawsuits including, but not limited to, involvement as "friend of the court" or
   throughPAL partnerships,associations,      projects,subsidiaries,affiliatesor coalitions,or
   any other entity, in which a cy pres or fluid recovery distribution was requested,proposed
   or awardedby or on behalf of PAL or affiliated entity.

4. Produceall documentsrelatedto PAL's involvementin this lawsuit, including the
   decisionto have PAL membersand affiliatesfincluding Health Care For All] participate
   as plaintiffs in the original Complaint filed December 2001, the withdrawal of Health
   CareFor All and other PAL membersas plaintiffs in Amended Complaint filed in July
   2003,the return of Health CareFor All as a proposedrepresentativeof consumersin the
   Track 2 settlement,and the involvementof PAL in the allocationsettlementproceeds.

5 . Produceall documentsrelatedto the receipt and administrationby PAL of any funds
    receivedby PAL (or affiliated entity) by or through a cy pres or fluid recovery
    distribution from anv lawsuit.

6 . Produceall PAL documentsrelatedto the issueof cy pres and/or fluid recovery,
    including,but not limited to: internalmemoranda;policy and position statements
    (whetherpublishedor disseminatedto any person);article andjournal submissions,press
    releases,hearing or testimony transcripts,email, communications,meeting agenda,notes
    or summaries,or other written documents.

7 . Produceall documentsrelatedto any affiliation betweenPAL and the following law
   firms: HagensBerman Sobol Shapiro,LLP; Spector,Roseman,Kodroff & Willis, P.C.;
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   Rosenfield& Rafik; Wexler Wallace;Hoffman & Edelson;and/orany of thesefirms'
   predecessors
              or successors,
                           and any partner(s)thereof,including SteveBerman,Tom
   Sobol,David Nalven; Ed Notargiacomo;JefferyKodroff, StephenRosenfeld,Ken
   Wexler and Marc Edelson.

8. Produceall documentsrelatedto any paymentsof any kind (whether cash,in-kind or
   otherwise)made or receivedby PAL, to or from the following personsand/orentities:
   HagensBermanSobol Shapiro,LLP; Spector,Roseman,Kodroff & Willis, p.C.;
   Rosenfield& Rafik; Wexler Wallace;Hoffinan & Edelson;and/orany of thesefirms'
   predecessorsor successors,
                            and any partner(s)thereof,including SteveBerman,Tom
   Sobol,David Nalven; Ed Notargiacomo;JefferyKodroff, StephenRosenfeld,Ken
   Wexler and Marc Edelson.

9. Produceall communicationsand otherdocumentsrelatingto PAL's involvementin the
   following cases,and the pursuit of cy pres andlorfluid recovery in such cases:Average
   WholesalePrice Litigation, Augmentin, Lupron, Relafen,BuSpar, Buspirone, Cardrzem,
   TenantHealth Care Corporation,Hytrin, Lorazepam,Clorazepate,Paxil, Remeron,
   Taxol, Warfarin Sodium(Coumadin),Novir, Celebrex,First DatabankMcKesson
   Medispan,Ketek, Neurontin,Nexium, Oxycontin,Protonix,Provigil, Seroquel,Vioxx,
   and/orany other lawsuit in which PAL was formally or informally involved with any of
   the firms or lawyerslisted in RequestNos. 6 and 7 above.

10. Produceall drafts of the documentattachedheretoas Exhibit "l" (or any othermemo or
    documentthat includesor discussesthe "key principles" listed therein),including
    commentsand/or edits theretoby personswithin and outside of PAL, and any original
    copiessentto others(including all transmittaldocuments).

I 1. Produceall documentsreferringor relatingto the negotiationsof settlements,the
     allocation of settlementproceedsand/orthe creationor allocation of cy pres or fluid
     recoveryin this caseor in In re Lupron Marketing and SalesPractices Litig., MDL 1430
     (D.Mass.),including the negotiationof the consumerClass I settlementswith
     AstraZenecaand GlaxoSmithKline, the promise of cy pres settlementfunds for the
     benefitof PAL and the involvementof PAL as allocationcounselfor consumers.
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            EXHIBIT 1
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                                                                 MEMORANDUM


To:      DaveTreanor.IUOE

From: ReneeMarkusHodin

Date: April 4,2006

Re:      PAL AttorneyRelationships



PAL is represented
                 in its casesby threelaw firms:

      ( I ) HagensBermanSobolShapiro(key contacts:SteveBerman& Tom Sobol)
         ( , ' .t ' ,t , . i i i l s : l . i t t r ' t : l t )
      (2) Labaton,Sucharow& Rudoff (key contacts: BerniePersky& Hollis Salzman)
         ( , \ . . r\ ' , i . r i r . f t t r t ir, ,. l i 1 )

      (3) Zwerling.Schachter                                  (ir ri ii .2..'gqrrii)
                           & Zwerling(key contact:JoeLipof-sky)

PAL hand-pickedthesellrms becausewe believethey shareour mission,understandwhat PAL
is seekingin its casesand possess
                                the intelligence.creativityand erperienceto help us be
successful in our cases. Pleasenotethat not everyfirm is involvedin everyPAL case.

As an advisor,counselorand consultantto PAL memberplaintifl-sin mattersof litigation
strategy.proposedsettlements,and othercase-related
                                                 matters,PAL works with directlywith the
relevantfirms in eachcase. Aside fiom case-specific
                                                  matters.PAL consultsregularlywith all of
its attorneyson possiblenew casesand otherprescriptiondrug policy issues.

The issueof associating with attorneysthat would bestrepresentour coalition'sinterestswas
foremostin our mindsfrom the very beginningof the projectin 2001. At that time. the
multi-statetobaccolitigationhad concluded,and we werejust beginningto fully understand   the
failingsof thoseefforts. The litigationwas supposedto bring ( 1) real changein the tobacco
industry'spracticesand (2) settlementmoneydevotedto healthcareimprovement. However,as
you know'.theseoutcomesdid not materiahze. lnstead.statebudgetshortfallsconsumedmuch
of the settlementfunds. And. the tobaccoindustrywas permittedto get away with making only
cosmeticchangesin the way they do business.

Our analysisof the tobaccolitigationand its disappointingoutcomesis that lawl'ers-- not
consumersor the organizations  that representthem -- were driving the litigation. We believe
that the bestresultsfor consumersoccurwhen legitimaterepresentatives     of thoseconsumer
interestshavea governingrole in the litigation.particularlyin the shapingof the remedy. Given
the levelof competitionamongclassactionlawyersin the drug pricing arena.we alsobelieve
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that classactionlawyerswho can show convincinglythat they arerepresenting   suchlegitimate
consumerinterestsaremore likely to play a leadrole in the complexlitigation.wheresometimes
dozensof law firms arevying for position.

While formulatingthe conceptof the project,CommunityCatalystconsultedextensivelywith
Tom Sobol,a highly respected and successfulBostonclassactionlitigatorwho at the time w.as
becominga major parlicipantin the work of HealthLaw Advocates,the public interestlaw firm
of HealthCare For All, Massachusetts' statewidehealthadvocacyorganization. Tom
understoodwell the role of Community Catalystand local and stategrassroots organizationsin
the movementfor healthcarejustice. He was alsoenthusiastic  abouthavingclassactionsthat
attackhigh drug pricescloselyalignedwith our grassrootsnetwork. Finally.he recognizedthat
suchan alignmentwould provideaddedlegitimacyto his cases.andthat w.ouldhelp persuade
trial coutlsto appointrepresentatives
                                   from thesecasesto the executivecommitteesresponsible
for prosecutingclaimson behalfof all classmembersacrossthe country.

However,he alsounderstoodthat with suchlegitimacywould comeresponsibility.on the parl of
both the lawyersrepresenting   the grassrootsnetworkand the representative  grassroots
organrzations themselves. That responsibilityis to guaranteethat the litigation reflectsand
promotesthe goalsand interestsof the constituencies  servedby thesegrassroots organtzations.
The initial participantsin the creationof PAL drafteda setof principlesthat governthe litigation
andthe variousrelationships.Among the key principlesare:

              Shared mission: The PrescriptionAccessLitigation(PAL) parlicipantsagreeto
              work in a collaborativeeffort: (a) to achieveour sharedmissionof creating
              substantialeconomicvaluefbr consun-lers    in orderto remedypastunlawful
              practicesof pharmaceutical companies:and (b) to achieverneaningfulchangein
              the way the pharmaceutical industrydoesbusinessin orderto increaseaccessto
              affordableprescriptionand otherdrugs.

       2.     Broad-basedcollaboration:We recognize      that implementation  of our mission
              will requirediscretelitigationef-forts.
                                                    andthat specificgoalsand/ororganization
              will be necessary on a case-by-casebasisdependingon the circumstanccs     of the
              litigationeffofts. AlthougheachlitigationefTortwill proceedindependently,     the
              participantsagreeto continueto exchangeinformationand collaboratein a
              broad-based  mannerwith respectto pharmaceutical   litigationeflbrtsto the extent
              suchinformationexchangeand collaborationis permittedunderlaw and is
              appropriate.

       3.     Highest ethical standards: We arecommittedto be boundby the highest
              standards  of ethicsand profbssionalismapplicableto our respectivef relds.
              Among otherthings.we agreethat lawyersinvolvedin PAL Projecteffortswill
              continueto independently   representtheir clientszealously.usingthe PAL Project
              as a tool fbr the benef-it
                                      of clients.

       4.     Shared responsibilityand control: With respectto particularlitigationeflbrts.
              we expressand believeand commit that the most eftbctiverepresentationof
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              classesor subclasses
                                 in pharmaceutical  litigationincludesrepresentationboth
              throughthe lawyersrepresenting  the classand/orsubclassandthroughhealthcare
              advocates and/orpublic interestlawyerswho haveworkedin the field of
              consumerrightsfbr accessto affordablehealthcare. Within the parlicular
              circumstances(which admittedlyvary significantlyfiom caseto case)such
              representation
                           and/orparticipationby healthcareadvocates    on behalfof a classor
              subclassshouldbe achieved.

       5.     Compensationand cy pres awards: When structuringcompensation           fbr work
              performedin litigationand fbr allocationof fundsgenerated   from litigation.we
              recognizethat the detailsof this, too. mustbe undertakenon a caseby casebasis.
              However.we believethat all lawyers(eitherfiom the privatebar or fiom the
              non-profitpublic interestbar) and healthcareadvocacyorganizations     shouldbe
              compensated  for work and/orvaluecontributedto eachcase. We alsoexpress
              the view that,as to allocationof classand/orsubclassfunds.it is fiequentlyin the
              bestinterestsof the classto establish,in paft. a separate
                                                                      cy presfund to be used
              fbr consumerbenefitsthrouehincreasedadvocacvfbr affordablehealthcare.

Theseprinciplesstill guidePAL's work and its relationships
                                                         with its attorneys.

Thoughhe haschangedlaw firms sincethe startof the project.Tom Sobolhasremainedan
integralpart of PAL. He hasbeenlaudedfbr his work on behalfof consumersand third-pafty
payorsin drug pricing cases. Incidentally.he hasalso"stuck his neck" out in a significantway
in challengingthe attorneysfeesbeingrequested  by his ex-law firm in the tobaccolitigation.
Tom hasalsobeeninstrumentalin helpingPAL selectour otherattorneysat l,abaton.Sucharow
& Rudoff (LSR) andZwerling,Schachter& Zwerling(ZSZ).

In parlicular.we approached BerniePerskyat LSR andJoeLipofsky at ZSZ becauseof their
broaderperiencein drug pricing casesand becauseof their demonstrated   interestin our mission.
Joeis of-counselto ZSZ and hasa long historyo1'workingwith legalservicesprogramsas well
as with variouslaborunionsandtheir ERISA funds. Bernieis a partnerat LSR and headof its
AntitrustPracticeGroup. He hasalsoworkedon civil rightscasesin his career. Most
imporlantly.both Joeand Berniehavebeenintimatelyinvolvedin bringingmajor classactions
againstthe pharmaceutical industryand in developingcreativesolutionsthat benefit
consumers.For instance.in one of the earlycaseschallengingillegaldrug companypractices,
they developeda plan to directtensof millions of settlementdollarsto communityhealth
centersaroundthe countryfbr the benefjtof their patients. In anothercase,Bernieand his firm
were creatorsof a model of classrepresentationthat ensuredthat both consumersand third party
payorshad their interestsseparatelyadvocated. That model.which hasbecomethe standard
practicein drug pricecases.was upheldlastyear by the 3'dCircuit Court o1'Appeals.

In sum,we feel that we haveassembleda creative.experienced  and committedgroupof
attorneysthat arehighly engagedin PAL and its mission. We're happyto answerany questions
you haveaboutPAL's attorneyrelationships as well as any furtherquestionsaboutmembership
in the PAL coalition.
